         Case 2:11-cr-00070-RAJ Document 493 Filed 04/23/19 Page 1 of 1

                    UNITED STATES COURT OF APPEALS
                                                                      FILED
                           FOR THE NINTH CIRCUIT
                                                                     APR 23 2019
                                                                    MOLLY C. DWYER, CLERK
                                                                     U.S. COURT OF APPEALS




 UNITED STATES OF AMERICA,                      No. 17-30085

               Plaintiff - Appellee,
                                                D.C. No. 2:11-cr-00070-RAJ-1
   v.                                           U.S. District Court for Western
                                                Washington, Seattle
 ROMAN SELEZNEV, AKA
 bandysli64, AKA Bulba, AKA Roman               MANDATE
 Ivanov, AKA nCuX, AKA Ruben
 Samvelich, AKA shmak, AKA smaus,
 AKA Track2, AKA Zagreb,

               Defendant - Appellant.


        The judgment of this Court, entered April 01, 2019, takes effect this date.

        This constitutes the formal mandate of this Court issued pursuant to Rule

41(a) of the Federal Rules of Appellate Procedure.

                                                FOR THE COURT:

                                                MOLLY C. DWYER
                                                CLERK OF COURT

                                                By: Nixon Antonio Callejas Morales
                                                Deputy Clerk
                                                Ninth Circuit Rule 27-7
